       Case: 1:18-cv-02387 Document #: 66 Filed: 02/12/19 Page 1 of 5 PageID #:928



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

SUNIL BHATIA, individually and           )
derivatively on behalf ofMEDVALUE        )
OFFSHORE SOLUTIONS, INC.,                )
                                         )
       Plaintiff,                        )
                                         )
v.                                       )
                                         )
RAJU V ASWANI, an individual, KARAN      )
V ASWANI, an individual, MV OUTSOURCING, )
INC., an Illinois Corporation,           )             Case Number: 1:18-cv-2387
                                         )             Hon. Robert M. Dow, Jr., Presiding
       Defendants.                       )
-------------------------------                 )
RAJU V ASWANI, individually and                 )
derivatively on behalf of MEDVALUE              )
OFFSHORE SOLUTIONS, INC.,                       )
An lllinois Corporation,                        )
                                                )
        Counter-plaintiff and                   )
        Third-party Plaintiff,                  )
                                                )
v.                                              )
                                                )
SUNIL BHATIA, an individual,                    )
                                                )
        Counter-defendant,                      )
                                                )
and                                             )
                                                )
V ARSHA BHATIA, an individual,                  )
                                                )
        Third-party Defendant.                  )

     RAJU V ASWANI'S SUPPLEMENT TO HIS MOTION TO JOIN CO-DEFENDANTS,
     KARAN VASWANI AND ASSIVO, INC.'S, MOTION TO MODIFY THE CURRENT
        DISCOVERY SCHEDULE AND TO REQUIRE PLAINTIFF TO IDENTIFY
       MEDVALUE OFFSHORE SOLUTION, INC.'S ALLEGED TRADE SECRETS

        NOW COMES Raju Vaswani (hereinafter "Vaswani"), individually and derivatively on

behalf of MedValue Offshore Solutions, Inc. (hereinafter "MedValue"), by and through his


                                       Page 1 of5
     Case: 1:18-cv-02387 Document #: 66 Filed: 02/12/19 Page 2 of 5 PageID #:929



undersigned counsel, and for his supplement to his Motion to Join Co-Defendants, Karan Vaswani

and Assivo, Inc.'s, Motion to Modify the Current Discovery Schedule and to Require Plaintiff to

Identify MedValue Offshore Solution, Inc.'s Alleged Trade Secrets, states as follows:

        1.     On February 1, 2019, Co-Defendants, Karan Vaswani and Assivo, Inc., filed their

Motion to Modify the Current Discovery Schedule and to Require Plaintiff to Identify MedValue

Offshore Solution, Inc.'s Alleged Trade Secrets (the "Motion") (Dkt. No. 57).

       2.      On February 4, 2019, Vaswani filed his Motion to Join the Motion. (Dkt. No. 60).

       3.      On February 7, 2019, the Honorable Robert M. Dow, Jr. granted the Motion in part

by striking the then current discovery schedule, and referred the Motion to Magistrate Judge

Cummings in all other respects (Dkt No. 63).

       4.      Vaswani seeks to supplement his Motion to Join Co-Defendants, Karan Vaswani

and Assivo, Inc.'s, Motion to Modify the Current Discovery Schedule and to Require Plaintiffto

Identify MedValue Offshore Solution, Inc.'s Alleged Trade Secrets (Dkt. No. 60). As discussed

more fully below, Vaswani seeks to emphasize to this Court that Vaswani has filed a motion

challenging Plaintiffs claim that this Court may exercise subject matter jurisdiction, and

accordingly, until the threshold issue of jurisdiction is determined, discovery should be stayed.

       5.      On December 7, 2018, Vaswani filed a Motion to Dismiss Plaintiff's Second

Amended Complaint on various grounds, including, on grounds that this Honorable Court lacked

subject matter jurisdiction over Counts V through X of Plaintiff's Second Amended Complaint

(DktNo. 51). Thus, discovery should be stayed in this matter pending ruling on Vaswani's Motion

to Dismiss, which was brought in part pursuant to Federal Rule of Civil Procedure 12(b)(1) (see

Dkt No. 51) and raises threshold issues as to this Honorable Court's subject matter jurisdiction.




                                            Page 2 of5
     Case: 1:18-cv-02387 Document #: 66 Filed: 02/12/19 Page 3 of 5 PageID #:930



Additionally, Vaswani's Motion to Dismiss has been fully briefed, and it is anticipated that this

Honorable Court will rule upon same in short order (see Dkt. No. 62).

        6.      It is well established that this Honorable Court has discretion to stay discovery for

good cause shown, including in situations where issues of jurisdiction have been raised. Fed. R.

Civ. P. 26(c)(l) ("The court may, for good cause, issue an order to protect a party or person from

annoyance, embarrassment, oppression, or undue burden or expense, including one or more of the

following: (A) forbidding the disclosure or discovery; ... "); see DSM Desotech Inc. v. 3D Systems

Corp., 2008 WL 4812440, *2 (N.D. 11. 2008) ("Stays are often deemed appropriate where the

motion to dismiss can resolve a threshold issue such as jurisdiction, standing, or qualified

immunity ... ") (internal citations omitted); Grammer v. Colorado Hasp. Ass 'n Shared Services,

Inc., 2015 WL 268780, *2 (D. Nevada 2015) ("Although the Federal Rules of Civil Procedure do

not provide for automatic or blanket stays of discovery when a potentially jurisdictional motion is

pending ... Rule 26(c)(l) states that the court may, for good cause, issue an order to protect a party

or person from annoyance, embarrassment, oppression, or undue burden or expense. This includes

the power to stay discovery. Typical situations in which a discovery stay is appropriate include

motions that raise issues of jurisdiction, venue, or immunity.") (internal citations omitted).

       7.      In this case, by filing his Motion to Dismiss, Vaswani has asserted in good faith

that this Honorable Court does not have federal jurisdiction over Counts V through X of Plaintiffs

Second Amended Complaint. Accordingly, discovery should be stayed until this Honorable Court

rules upon Vaswani' s Motion to Dismiss.

       WHEREFORE, for the reasons set forth herein and in Co-Defendants, Karan Vaswani and

Assivo, Inc.'s, Motion to Modify the Current Discovery Schedule and to Require Plaintiff to




                                            Page 3 ofS
    Case: 1:18-cv-02387 Document #: 66 Filed: 02/12/19 Page 4 of 5 PageID #:931



Identify MedValue Offshore Solution, Inc.'s Alleged Trade Secrets, Raju Vaswani respectfully

requests that this Honorable Court:

       A. Stay discovery until this Honorable Court rules on Vaswani and Co-Defendants'

           Motions to Dismiss Plaintiff's Second Amended Complaint;

       B. Order Plaintiff to provide, before any discovery occurs, a list of the alleged trade secrets

           at issue in this case in numbered paragraphs, with specificity;

       C. Preclude Plaintiff from later adding to this list or adding specificity to the items listed

           thereon; and,

       D . Award such other and further relief this Honorable Court deems equitable and just.

                                              Respectfully submitted,

                                              By: Is/ Thomas A. Christensen
                                                 Attorney for Defendant, Raju Vaswani
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                                            Page 4 ofS
       Case: 1:18-cv-02387 Document #: 66 Filed: 02/12/19 Page 5 of 5 PageID #:932




                                  CERTIFICATE OF FILING AND SERVICE

          I, Thomas A. Christensen, certify as follows under penalty of perjury this 12th day of

February, 2019:

       1.      I filed Raju Vaswani's Supplement to His Motion to Join Co-Defendants, Karan
Vaswani and Assivo, Inc. 's, Motion to ModifY the Current Discovery Schedule and to Require
Plaintiffto Identify MedValue Offshore Solution, Inc.'s Alleged Trade Secrets, by filing it with the
Clerk of the Court via electronic means on February 12, 2019.

        2.      I served Raju Vaswani's Supplement to His Motion to Join Co-Defendants, Karan
Vaswani and Assivo, Inc.'s, Motion to ModifY the Current Discovery Schedule and to Require
Plaintiff to Identify MedValue Offshore Solution, Inc.'s Alleged Trade Secrets by filing it with the
Clerk of the Court via electronic means, which electronic filing constitutes service by virtue of
local rule 5.9

          3.         I made the electronic filing on February 12, 2019.


                                                                         By: Is/ Thomas A. Christensen


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Plaintiff to Identify Trade Secrets.docx




                                                           Page 5 of5
